     20-05027-rbk Doc#1-1 Filed 05/01/20 Entered 05/01/20 15:11:04 Adversary Coversheet
                                         Pg 1 of 2

FORN| 104 (10/06)


                                                                                                                                ADVERSARY PROCEEDNG                       NMBER
                     ADVERSARY PROCEEDING COVER SHEET                                                                           (Court IJse Onll')
                                              (lnstructions on Reverse)

 PLAINTIFFS                                                                                     DEFENDANTS
KrisJenn Ranch, LLC et al                                                                      DMA Properties, lnc. and Longbranch EnergyLP

 ATTORNEYS rf irm Name. Address. and Telephone No.)                                             ATTORNEYS (lf Known)
                   W Sunset, San Antonio TX 78209
Muller Smeberg PLLC 111



 PARTY (Check                        One Box Only)                                              PARTY (Check One Box Only)
 d Debtor   I                          U.S. Trustee/Bankruptcy Admin                            r Debtor I                           U.S. Trustee/Bankruptcy Admin
 r Creditor I                           Other                                                   d Creditor I                         Other
 I Trustee                                                                                      r Trustee
 CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STAI                                                                            I,_TES   INVOLVED)
Declaratory Judgment


                                                                                    NATURE OF SUIT
                          (Number up to fit.e (5) boxes starting with lead cause ofaction as l. tirst alternatjve cause as 2, second alternative cause           as 3. etc.)


      FRBP 7001(l          )       Recoverv of I\Ione-v/Propertv                                    FRBP 7001(6) - Dischargeahilitv (continued)
n     I I -Recovcn        ot mone)/propert\ - \5,12 turnover of propenl'                       fl   ol-Dlschargeabilit), - \523(aX5). dorrestic suppon
tr l-Recolerv ol'mone1/propertr - \5.17 pref'erence
      I                                                                                        n    fr8-l)ischargeabilil\ - \\523(aX6). wi]ltul and tnalicious inlun
tr 3-Recover\ of rnonel/propert-v - liaudulettt transter
      I                                               is5.18                                   E    o3-Dischargeabilit:- - \523(aXti). student loan
tr 1.1-Recoven ot rnone)/properr\ - other                                                      fl       0.1-Dlr.h"rgeahilit\' - .\52-i(aX l5). divorce or separatiotr obligarion (other
                                                                                                           than domestic support)
      f RBP 7001(2)            -   Validit-v, Priority or Ertent of Lien                       E        65-Dischargeabilitv - other
tr    2   I   -Validit1'. priorit]' or e\tent of I ien or olher intcrest in propenl
                                                                                               FRBP 7001 (7)        - Injunctive Relief
      t R'BP 7001 (.1) - Approval of Sale of Property                                          fl       7l-ln juncrjve    relief     reinstaternent of sta)
u     3 l     -Approval of salc ot'propeny 01'estatc and       ol- a   co-outcr - \363(h   )
                                                                                               E        7l-1n,r',r.,,r.     r.lret   orher

      FRBP         7001 (,1)   -   Objection/Revocation of Dischargc                           FRBP 7001(8) Subordination ofClaim or lnterest
tr    ,1 I    -Ob.iection / revocation of discharge - is727(c).(d).(e)                         fl R l-Suhord,narron or \'larn or rntercsl
      FRBP 7001(5)             -   Revocation ofConlirmation                                   FRBP 700 I (9) Declaratory Judgment
T     5   I   -RcYocation ot' conf irmation                                                    E        9l-Declaraton ludgment

      l-RBP 7001(6)            -   Dischargeability                                            FRBP 7001(10) Dcternrination ol Removed Action
tr 66-Dischargeabilitr - \523(aXl ).(1,1).( 1,1A) prioritl tar claims                          n 0 I -Dete.,nination of remoled claim or causc
tr 62-t)jschargcabilit) - S52-l(aX2). lalse prelenscs. lalse rcprcserlati('rr.
                actual lraud                                                                   Other
E     o7-t)isch"rgeabrlit) - \523(a)(.1). liaud as trduciary. etnbezzlement. larcenr           E         ss-stpn Case-         15 tJ S C.    \\78aaa   cr.se4.

                                   (continued ne\t column)
                                                                                               fl        tl:-Other (e   g   otlrer actions thal rvoLrld have been broughl rn state court it
                                                                                                             unrelatcd to bankruPtc)' cas.)


  r       Check ifthis case involves a substantive issue ofstate law                                r    Check if this is assefted to be aclass action under FRCP 23

  r       Check if a jury trial is dernanded in complaint                                           Demand         S


  Other Relief Sought
 20-05027-rbk Doc#1-1 Filed 05/01/20 Entered 05/01/20 15:11:04 Adversary Coversheet
                                     Pg 2 of 2

FORM 104 (10/06), PageZ

                     BANIGUPTCY CASE IN WHICH THIS ADYERSARY PROCEEDNG ARISES

NAME OF DEBTOR                                                                           BANKRUPTCY CASE NO.
KrisJenn Ranch, LLC, et al                                                               20-50805
DISTRICTN WHICH CASEIS PENDING                        DIVISIONAL OFFICE                     NAMEOFJUDGE
Western District of Texas                             San Antonio                            R. King
                                   RELATED ADVERSARY PROCEEDING (IF ANY)

PI-ANTIFF                            DEFENDANT                                  ADVERSARY PROCEEDINC NO.


DISTRICT IN WHICH ADVERS{RY IS PEI\DING               DIVISIONAL OFFICE                     NAMEOFJUDCE


SIGNATURE OF ATTORNEY (OR PLAINTIFF)




                                      PRINTNAME OF AI,TORNEY (OR PLAINTIFF)

                                       f,".     .."   ,, I          ,".-r   L   ,'   1




                                                       INSTRUCTIONS

        The filing ofa bankr-rptcy case creates an "estate" under thejurisdiction ofthe bankruptcy coutl which consists
ofall ofthepropertyofthedebtor,whereverthatpropeftyislocated. Becausethebankruptcyestateissoextensiveand
thejurisdiction of the couft s,r broad, there rnay be lawsuits over the properly or propefty rights of the estate. There also
,ruy b. lawsuits concerning the debtor's discharge. lf such a lawsuit is filed in a bankruptcy court, it is called an
adversary proceeding.

         A party filing an adversary proceeding must also must complete and file Form 104, the Adversary Proceeding
Cover Sheet, ii it is required by the cour1. In some courts, the cover sheet is not required when the adversary proceeding
is filed electronically through the coutt's Case Management/Electronic Case Files (CM/ECF) system. (CM/ECF
captures the information on Form 104 as parl of the     filing process.) When completed, the cover sheet sumtnarizes basic
iniornation on the adversary   proceeding.  The   clerk  of courl needs the information to process the adversary proceeding
and prepare required statistical repofis on coufi  activity.

         The cover sheet and ihe inforrnation contained on it do not replace or supplement the filing and service of
pleadings or other papers as required by law, the Bankruptcy Rules, or the local rules of cout1. The cover sheet, which is
iargely ielf-explanatory, must be completed by the plaintiff's attorney (or by the plaintiff if the plaintiff is not
represented by an attorney). A separate cover sheet must be submitted to the clerk for each complaint filed'

plaintilTs and Defendants. (iive the names of the plaintiffs and      tl-re   defendants exactly as they appear on the complaint.

Attorneys. Give the names and addresses olthe attorneys, if known.

 party.   Check the most appropriate box in the first column for the plaintiffs and in the second column for the
 defendants.

 Demand. Enter the dollar arnount being demanded in the complaint.

 Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form' lf the
 pliintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented
 by an attorney, the plaintiff must sign.
